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                                                                                                             Processing Month:              02-23              9335
                TRANSACTION SERVICES
                2727 PACES FERRY RD BLDG 1, STE 750                                                          Association Number:            030040
                ATLANTA, GA 30339
                                                                                                             Merchant Number:               xxxxxxxxxxx8720
                                                                                                             Routing Number:

                                                                                                             Deposit Account Number:




                JOHN STRAND                                                                                  Amount Deducted:
                JOHN STRAND                                                                                  $ 42.46




                                                                            Plan Summary
Plan       Number of        Amount of    Number of          Amount of                    Net           Average                Disc          Disc            Discount
Code          Sales            Sales       Credits            Credits                  Sales             Ticket                P/I            %                 Due
VS                  04        140.00           00                  .00             140.00                35.00           0.10000         0.3000                 .82
VD                  07        190.00           00                  .00             190.00                27.14           0.10000         0.3000                1.27
VB                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
V$                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
VL                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
MC                  01          6.00           00                  .00               6.00                 6.00           0.10000         0.3000                 .12
MD                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
MB                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
M$                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
ML                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
AM                  04        157.00           00                  .00             157.00                39.25           0.10000         0.3000                 .87
DS                  01         20.00           00                  .00              20.00                20.00           0.10000         0.3000                 .16
DD                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
DZ                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
D$                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
DJ                  00           .00           00                  .00                .00                  .00           0.10000         0.3000                 .00
**                  17        513.00           00                  .00             513.00                30.18                                                 3.24


                                                                              Deposits
        Reference            Tran Plan        Number of             Amount of            Amount of                Discount
Day     Number               Code Code           Sales                 Sales               Credits                    Paid              Non Settled           Settled
06      90001680348          D     T                  02              150.00                   .00                    .00                      .00           150.00
13      90001710358          D     T                  01                5.00                   .00                    .00                      .00             5.00
13      90001690355          D     T                  04               31.00                   .00                    .00                      .00            31.00
13      90001700357          D     T                  02               40.00                   .00                    .00                      .00            40.00
14      90001720359          D     T                  01               10.00                   .00                    .00                      .00            10.00
15      90001730360          D     T                  01              100.00                   .00                    .00                      .00           100.00
20      90001740364          D     T                  01                2.00                   .00                    .00                      .00             2.00
20      90001760366          D     T                  01               20.00                   .00                    .00                      .00            20.00
20      90001750365          D     T                  01               50.00                   .00                    .00                      .00            50.00
21      90001770367          D     T                  01               50.00                   .00                    .00                      .00            50.00
27      90001790370          D     T                  01                5.00                   .00                    .00                      .00             5.00
27      90001780369          D     T                  01               50.00                   .00                    .00                      .00            50.00
        Deposit Totals                                17              513.00                   .00                    .00                                    513.00


                                                                                Fees
       Count             Amount     Rate %      Rate Per Item Description                                                                      Fees Paid           Total

AUTHORIZATION FEES:
     05                                              0.10000 Authorization Amex                                                                     .00             .50
     20                                              0.10000 Authorization                                                                          .00            2.00
                                                                                                                              Total Authorization Fees:            2.50


                                                             PLAN CODES                                                                   TRANSACTION CODES
VS -VISA                   MC -MASTERCARD                      DS -DISCOVER                JC -JCB      DB -DEBIT       T -ALL PLANS      D -DEPOSIT
VL -VISA LARGE TICKET      ML -MASTERCARD LARGE TICKET         DD - DISCOVER DEBIT         EB -EBT      PP -PAYPAL      1 -PLAN ONE       C -CHARGEBACK
VD -VISA DEBIT             MD -MASTERCARD DEBIT                DZ -DISCOVER BUSINESS       AM -AMERICAN EXPRESS         2 -PLAN TW O      A -ADJUSTMENT
VB -VISA BUSINESS          MB -MASTERCARD BUSINESS             DJ -DISCOVER JCB            EC -ELECTRONIC CHECK         3 -PLAN THREE     B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE      M$ -MASTERCARD CASH ADVANCE         D$ -DISCOVER CASH ADV       AC -ACH as a Tran
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                                                                  Fees - continued
   Count            Amount   Rate %   Rate Per Item Description                                                                    Fees Paid    Total

INTERCHANGE FEES / AMERICAN EXPRESS PROGRAM FEES:
     02           25.00   1.6500     0.15000 VS CPS CNP Debit                                                                            .00     .72
     02           70.00   2.0500     0.10000 VS VIN Product 1                                                                            .00    1.64
     02           70.00   2.5000     0.10000 VS VSP VIQ Product 1                                                                        .00    1.95
     05         165.00    0.0500     0.22000 VS US Regulated Debit                                                                       .00    1.18
     01            6.00   2.6000     0.10000 MC High Value Merit I                                                                       .00     .26
     04         157.00    1.6500     0.10000 AM B2B/Wholesale Tier 1                                                                     .00    2.99
     01           20.00   2.0500     0.10000 DS e-Commerce Premium                                                                       .00     .51
                                                                                     Total Interchange Fees / American Express Program Fees:    9.25
TRANSACTION FEES:
     12                                  0.15000 Batch Fee                                                                               .00    1.80
                                                                                                                     Total Transaction Fees:    1.80
CARD BRAND FEES:
     05                                  0.01950 VS-NAPF-Credit                                                                          .00     .10
     09                                  0.01550 VS-NAPF-Debit                                                                           .00     .14
     14                                  0.00100 VS-Visa US AVS                                                                          .00     .01
     02                                  0.10000 VS-VS RAF NvApr Dom                                                                     .00     .20
     04             140.00   0.1400              VS-ASSMNT CREDIT                                                                        .00     .20
     07             190.00   0.1300              VS-ASSMNT DEBIT                                                                         .00     .26
     11             330.00               0.00180 VS-VS TRANSMFEE                                                                         .00     .02
     01               6.00   0.1300              MC-ACQ Brand Volume                                                                     .00     .01
     05                                  0.01950 MC-NABU Auth                                                                            .00     .10
     05              33.00   0.0200              MC-DIGITAL ENBLMT                                                                       .00     .10
     04             157.00               0.02000 AM-Amex AcqTransFee                                                                     .00     .08
     04             157.00   0.3000              AM-Non-Swiped Tr                                                                        .00     .48
     04             157.00   0.1650              AM-AM USASSMNTFEE                                                                       .00     .26
     01              20.00   0.1400              DS-DS Assessment                                                                        .00     .03
     01                                  0.00500 DS-DS AVS                                                                               .00     .01
     01                                  0.01900 DS-DS Ntwk Auth Fee                                                                     .00     .02
     04             157.00   0.1500              Amex Program Fee                                                                        .00     .24
                                                                                                                      Total Card Brand Fees:    2.26
OTHER FEES:
                                        10.00000 Statement Fee                                                                           .00   10.00
                                        10.00000 Pci Compliance Fee                                                                      .00   10.00
                                         1.25000 MasterCard Location Fee                                                                 .00    1.25
                                                 JAN MC CCP                                                                              .00     .06
     21                                  0.10000 Avs Fee                                                                                 .00    2.10
                                                                                                                           Total Other Fees:   23.41
                                                                                                                           Total Fees Due:     39.22



                                         Discount Due                                                3.24
                                         Fees Due                                                   39.22
                                         Amount Deducted                                            42.46
